                         Case 8:19-bk-03039-RCT            Doc 46      Filed 07/07/20      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                07/07/2020 10:00 AM
                                                                COURTROOM 9B
HONORABLE ROBERTA COLTON
CASE NUMBER:                                                    FILING DATE:
8:19-bk-03039-RCT                         7                       04/03/2019
Chapter 7
DEBTOR:                Rodolfo Marin


DEBTOR ATTY:           David Smith
TRUSTEE:               Beth Scharrer
HEARING:
(1) Motion to Sell Property Free
and Clear of Liens re: 6987 74th Street
Cir. E., Bradenton, FL 34203 and Pay
Secured Creditor and Transactional
Costs by Trustee (Doc 42)
(2) Application for Compensation for
Jubilee Real Estate, Realtor, Fee:
$22,200.00, Expenses: $0.00 by
Trustee ( Doc 43)

ELEPHONIC AAPPEARANCES:: Richard Dauval: Trustee Atty

RULING: (1) Motion to Sell Property Free and Clear of Liens re: 6987 74th Street
Cir. E., Bradenton, FL 34203 and Pay Secured Creditor and Transactional
Costs by Trustee (Doc 42) - GRANTED; ORDER BY DAUVAL
(2) Application for Compensation for Jubilee Real Estate, Realtor, Fee: $22,200.00,
Expenses: $0.00 by Trustee ( Doc 43) - APPROVED; ORDER BY DAUVAL
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 8:19-bk-03039-RCT                     Chapter 7
